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                   EXHIBIT 11
Case 9:18-cv-80176-BB Document 83-11 Entered on FLSD Docket 01/14/2019 Page 2 of 15
                                                                                                                                                                       FILE:t)
                                                                                                                                                                       1 3 ,~UG 1013

         Form 3B (version 4)
         UCPR 6.2

                                                                                                                        STATEMENT OF CLAIM


         Court                                                                                                                          NSW Supreme Court
         Division                                                                                                                       General division / Common Law
         List                                                                                                                           General
         Registry                                                                                                                       Sydney
         Case number                                                                                                                        ~0,;           V
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         Plaintiff                                                                                                                      Craig Steven Wright (ABN 97 481 146 384)




         Defendant                                                                                                                      W&K INFO DEFENSE RESEARCH LLC


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                                                                                                                                                                                                            "


         Filed for                                                                                                                      Craig S Wright

                                                                                                                                        Plaintiff

     Contact name and telephone                                                                                                         Craig S Wright

                                                                                                                                        0417 683 914

     Contact email                                                                                                                      Craig S Wright (craigswright@acm.org)

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      Mercantile Law - Sale of Goods and Services - Contractual Dispute

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Case 9:18-cv-80176-BB Document 83-11 Entered on FLSD Docket 01/14/2019 Page 3 of 15
                                                   2




    1      That the defendant pay the plaintiff the total amount claimed below.


           Amount of claim                $ $28,533,016.79
           Interest                       $0
           Filing fees                    $ 999.00
           SeNice fees                    $ 34.00
           Solicitors fees                $ 0.00
           TOTAL                          $ $28,534,049.79




    1      Between 2011 and 2013 the plaintiff provided contract labour services to the
           defendant. The plaintiff loaned money to the defendant to the defendant at a set
           interest rate with a commercial expectation that the said monies would be repaid in
           full when a project was completed.

    2      This was issued in Bitcoin. The value at the current date is $13,917,775.

    3      The Software and SOK developed under this project is guaranteed against the
           amounts of this claim.

    4      The defendant is a company that operates from Palm Beach, FL, USA and does
           research in homeland security research.

    5      By contract dated 8 January 2009, the Defendant agreed to pay the Plaintiff for
           property and consulting seNices to complete research. The contract was bonded
           against the intellectual property of the defendant.

    6      The material terms of the purchase contract were:

             a. The Plaintiff was the contractor and financier

             b. The Defendant was the Vendor

             c. Completion was to take place on 30 June 2013.

             d. Time was of the essence of the contract.

             e. That in the event that the Purchaser breached the contract, the Seller could
                 either affirm or terminate the contract with a full return of value.

    7      The plaintiff conducted a project for the development of a Bitcoin SOK and
           exchange.
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                                                    3




    8       The contract was executed with an agreement that all created Intellectual property
            reverts to the ownership of the plaintiff with interest if the project concludes without
            assignment of shares in the defendant.

    9       The contract set the interest rate at 12% calculated annually.

    10      The exchange rate was contracted with a formula to be $1.12 at the point of breach.

    11      The funding was supplied using Bitcoin and Gold bonds.

    12      A bond of Au $20,000,000.00 was provided to cover funding aspects of the research
           and for the provision of ASC hardware as a pooled amount with a depreciated
           capitals value of $8,828,571.29 with straight line depreciation which has 5 years
           remaining.

    13      The contract stated that a breach would lead to liquidated damages to the amounts
           stated as the project limits. If the liquidated amount is not paid all IP and systems
           returns to the sole ownership of the plaintiff.

    14      The IP is software and code used in the creation of a Bitcoin system.

    15      The defendant is unable to complete its responsibilities due to the death of its
           director, Mr Kleiman.

    16      The total debt after depreciation of the hardware comes to $22,746,346.29 in
            Australian dollars. The Interest on this amount is calculated at $AU 5,786,670.50.

    17      The plaintiff claims:

           Debt of$ $28,533,016.79.

           Interest pursuant to section 100 Civil Procedure Act 2005 from 01 July 2013 to
           judgement.



                                                                                             ..   . ~ ':. ,,




                                                                                  These fees may




    Date of signature
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    If you do not file a defence within 28 days of being served with this statement of claim:
    •            You will be in default in these proceedings.
    •            The court may enter judgment against you without any further notice to you.
    The judgment may be for the relief claimed in the statement of claim and for the plaintiff's
    costs of bringing these proceedings. The court may provide third parties with details of any
    default judgment entered against you.

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    Please read this statement of claim very carefully. If you have any trouble
    understanding it or require assistance on how to respond to the claim you should get
    legal advice as soon as possible.
    You can get further information about what you need to do to respond to the claim from:
    •            A legal practitioner.
    •            LawAccess NSW on 1300 888 529 or at www.lawaccess.nsw.gov.au.
    •            The court registry for limited procedural information.
    You can respond in one of the following ways:
    1                        If you intend to dispute the claim or part of the claim, by filing a defence and/or
                             making a cross-claim.
    2                        If money is claimed, and you believe you owe the money claimed, by:
                             •                Paying the plaintiff all of the money and interest claimed. If you file a notice
                                              of payment under UCPR 6.17 further proceedings against you will be
                                              stayed unless the court otherwise orders.
                         •                    Filing an acknowledgement of the claim.
                         •                    Applying to the court for further time to pay the claim.
    3                        If money is claimed, and you believe you owe part of the money claimed, by:
                         •                    Paying the plaintiff that part of the money that is claimed.
                         •                    Filing a defence in relation to the part that you do not believe is owed.
    Court forms are available on the UCPR website at www.lawlink.nsw.gov.au/ucpr or at any
    NSW court registry .

    .~E~'.1$.Ji~~ADDRESS
    Street address                                           184 Phillip St, Sydney NSW 2000

    Postal address                                           Supreme Court of NSW, GPO Box 3, Sydney NSW 2001
                                                             Australia 2000
    Telephone                                                (02) 9377 5840
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                                                                                                                                               ~;


    Name                                        Craig Steven Wright

    Address                                     43 St Johns Ave Gordon NSW 2072

    Occupation                                  Lecturer/Director

    Date                                         12 Aug2013

    I say on oath:

    1          I am the plaintiff.

    2          I believe that the allegations of fact in the statement of claim are true.



    SWORN at                                                                  r:1-··
                                                                            ..~
                                                                                  ·v.,.·
                                                                                           .
    Signature of deponent
    Name of witness
                                                                                                    CHRISTIAN HOFMANN
    Address of witnes~i &> P .. , f\.
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                                                 · '-{_      f                                          Reg. No 195484

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                                                                                                 Justice of the Peace in and for
    Capacity of witness                          Justice of the peace                            the State of New South Wales

    And as a witness , I certify the following matters concerning the person who made this affidavit(the deponent):
                                                                                                                 ••   : ·· ' .   ,.   <!- ~·




    1        #I saw the face of the deponent. [OR, delete whichever option is inapplicable]
             #I did net see tt:ie face ef tt:ie depenent beca1:1se tt:ie depenent was wearin§J a face ceverin§J, b1:1t I am
             satisfied tt:iat tt:ie depenent t:iad a special j1:1stificatien fer net remevin§l tt:ie ce><erin§J .*
    2        #I t:ia><e knewn tt:ie depenent fer at least 12 mentt:is. [QR-,-Glelete-whichevBr--optioo-~s-iRappltGabJe1
             #I have confirmed the deponent's identity using the following identification document:

                                                /VSVD,;ver                        l;e-ence

    Signature of witness
    Note: The deponent and witness must sign e                                                 See UCPR 35.78.




    [* The only "special justification" for not removing a face covering is a legitimate medical reason (at April 2012).]
    [t"ldentification documents" include current driver licence, proof of age card, Medicare card, credit card,
    Centrelink pension card, Veterans Affairs entitlement card, student identity card, citizenship certificate, birth
    certificate, passport or see Oaths Regulation 2011.]
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    PARTIES TO THE PROCEEDINGS
    Plaintiff                                                                                        Defendant

    Craig Steven Wright                                                                              W&K INFO DEFENSE RESEARCH LLC

                                                                                                     4371 Norhtlake Blvd #314

                                                                                                     Palm Beach

                                                                                                     FL 33410 - 6253 [Defendant]
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           .... ,.       ,-,t•                                              .,,




    Plaintiff
    Name                                                                                 Craig Steven Wright
    Address                                                                              43 St Johns Ave

                                                                                         Gordon NSW 2072



    Contact details for plaintiff acting in person or by authorised officer
    Address for service                                                                  as above

    Telephone                                                                            0417 683 914
    Email                                                                                craigswrig ht@acm.org

    Dl;:TA,ILi~.:~!30UT 'DEF·ENDANT
           •         •           .          •J.        .        .                   .



      Defendant
          Name                                                                          W&K INFO DEFENSE RESEARCH LLC

      Address                                                                           4371 Norhtlake Blvd #314
                                                                                        Palm Beach
                                                                                        FL 33410 - 6253
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     Form 3B (version 4)
     UCPR 6.2

                                          STATEMENT OF CLAIM
     COURT DETAILS
     Court                                       NSW Supreme Court
     Division                                    General division       G.,. . ,.,. .; ; . . _ ( ,.. .__.,
     List                                         ?~v~A. .
     Registry                                    Sydney
     Case number                                  2.0/s /    J L'   l
     TITLE OF PROCEEDINGS
     Plaintiff                                   Craig Steven Wright (ABN 97 481 146 384)




     Defendant                                   W&K INFO DEFENSE RESEARCH LLC


     PILING DETAILS
     Filed for                                   Craig 5 Wright

                                                 Plaintiff

     Contact name and telephone                  Craig S Wright

                                                 0417 683 914
     Contact email                               Craig S Wright (craigswright@acm .org)

     TYPE OF CLAIM

     Mercantile Law - Sale of Goods and Services - Contract V           ,.J ,)..~ rv'l:Q__ •
     M&~krl-aw             Otl:lar-Mooey-kefl-




                                                                                               l.Jl) • ,,
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                                                    2




    RELIEF CLAIMED

    1     That the defendant pay the plaintiff the total amount claimed below.


          Amount of claim                  $ 28 ,253 ,633 .00
          Interest                         $0
          Filing fees                      $ 999.00
          Service fees                     $ 34 .00
          Solicitors fees                  $ 0.00
          TOTAL                            $ 28,254,666.00


    PLEADINGS AND PARTICULARS

           Between 2011 and 2013 the plaintiff provided contract labour services to the
          defendant. The plaintiff loaned money to the defendant to the defendant at      a set
           interest rate with a commercial expectation that the said rn o ies wou ld be repaid in
           full when a project was completed .

    2      The defendant is a company that operates from Palm Beach , FL, USA and does
           research in homeland security research .

    3      By contract dated 27 October 2008, the Defendant agreed to pay the Plaintiff for
           property and consulting services to complete research. The contract was bonded
           against the intellectual property of the defendant.

    4      The material terms of the purchase contract were :

             a. The Plaintiff was the contractor and financier

             b. The Defendant was the Vendor

             c.   Completion was to take place on 30 June 2013.

             d. Time was of the essence of the contract.

             e . That in the event that the Purchaser breached the contract, the Seller could
                  either affirm or term inate the contract with a full return of value.

    5      The plaintiff conducted four (4) projects associated with the DHS (Dept. of
           Homeland Security USA) with the defendant under contract:

              a . BAA 11-02-TTA 01-0127-WP : TTA 01 - Software Assurance : Software
                  Assurance through Economic Measures
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              b. BAA 11-02-TTA 05-0155-WP: TTA 05 - Secure. Resilient Systems and
                   Networks

              c. BAA 11-02-TTA 09-0049-WP: TTA 09 - Cyber Economics

              d. BAA 11-02-TIA 14-0025-WP: TIA 14 - Software Assurance MarketPlace
                   (SWAMP)

     6      In May 2013 the primary director of the defendant died leaving the project not
            transferred to the plaintiff and not returning funds. These funds were rated as:

              a. TTA 01             US$ 650,000

              b. TIA 05             US$ 1,8000,000

              c. TTA 09             US$ 2,200,000

              d. TTA 14             US$ 1,200,000

     7      The contract was executed with an agreement that all created Intellectual property
            reverts to the ownership of the plaintiff with interest if the project concludes without
            assignment of shares in the defendant.

     8      The contract set the interest rate at 8% calculated annually.

     9      The exchange rate was contracted with a formula to be $1.12 at the point of breach.

     10     The funding was supplied using Bitcoin and Gold bonds.

     11     A bond of Au $20,000,000.00 was provided to cover funding aspects of the
           research.

     1.2    The contract stated that a breach would lead to liquidated damages to the amounts
           stated as the project limits. If the liquidated amount is not paid all IP returns to the
           sole ownership of the plaintiff.

     13     The IP is software and code used by the US Military, DHS and other associated
           parties .

     14     The defendant is unable to complete its responsibilities due to the death of its
           director, Mr Kleiman.

     15     The debt of US$ 5,850,000 comes to $6,552 ,000 in Australian$. The Interest on this
           amount is calculated at $AU 1,701 ,633.00.

     16     The plaintiff claims:

           Debt of$ 28,253,633.00
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                                                         4




           Interest pursuant to section 100 Civil Procedure Act 2005 from 01 July 2013 to
           judgement.



    SIGNATURE
    I acknowledge that court fees may be payable during these proceedings. These fees may
    include a hearing allocation fee.                   ,.-   j /--
                                        d.--;· ~
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    Signature
    Capacity                                pfarntiff
    Date of signature                   '       '2 .;· ),;, ( ('
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    NOTICE TO DEFENDANT
    If you do not file a defence within 28 days of being se rved wfth this statement.of claim :
    •      You will be in default in these proceedings.
    •      The court may e,nt-er judgment against you without any further notice to you .
    The judgment may be for the relief claime<l ln the statement of claim and for the plaintiff's
    costs of bringing these proceedings . The court may provide third parties with details of any
    default judgment entered against you .
    HOW TO RESPOND
    Please read this statement of claim very carefully. If you have any trouble
    understanding itor require assistance on how to res,pond to the, claim y·ou shourd get
    legal advice as soon as possible.
    You can get further information about what you need to do to respond to the claim from:
    •      A legal practitioner.
    •      LawAccess NSW on 1300 888 529 or at www.lawaccess .nsw.gov .au.
    •      The court registry for limited procedural information .
    You can respond in one of the following ways :
     1        If you intend to dispute the claim or part of the claim, by filing a defence and/or
              making a cross-claim .
     2        If money is claimed, and you believe you owe the money claimed, by:
              •          Paying the plaintiff all of the money and interest claimed . If you file a notice
                         of payment under UCPR 6 .17 further proceedings against you will be
                         stayed unless the court otherwise orders.
              •          Filing an acknowledgement of the claim.
              •          Applying to the court for further time to pay the claim.
     3         If money is claimed, and you believe you owe part of the money claimed , by:
               •         Paying the plaintiff that part of the money that is claimed .
               •         Filing a defence in relation to the part that you do not believe is owed.
        Court forms are available on the UCPR website at www.lawlink.nsw.g ov.au/ucpr or at any
        NSW court registry.

        REGISTRY ADDRESS
        Street address             184 Phillip St, Sydney NSW 2000

        Postal address             Supreme Court of NSW. GPO Box 3, Sydney NSW 2001
                                   Australia 2000
        Telephone                  (02) 9377 5840
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    #AFFIDAVIT VERIFYING
    Name                                          Craig Steven Wright
    Address                                       43 St Johns Ave Gordon NSW 2072
    Occupation                                    Lecturer/Director
    Date                                          23 July 2012

    I say on oath:

    1          I am the plaintiff.

    2          I believe that the allegations of fact in the statement of claim are true.


    SWORN at
    Signature of deponent
    Name of witness                                                                                              W     \ ~\ flS ·
    Address of witness
                                                           Reg. No. 194194
                                                A Justice of the Peace In and for the
                                                                                          Ku-ring-gai Council
                                                     State of New South Wa les             818 Pacific Highway, Gordon
    Capacity of witness                           Justice of the peace                     Locked Bag 1056, Pymble, NSW 2073
                                                                                           ASH· H IQJ ~ · , 11

    And as a witness, I certify the ·011owi11g matters concerning the pers-on who made this affidavll (1ha qeponent}:
    1         #J saw the face· of the deponenlr .:, ;:;   tJ e1 • 1    1   "' -             , , 1,   •
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    2         #1-Mve k!lGWl-1 t l l ~ FIi for at lea~~&-.- -              ·,- . , • , .    • ..-,- ,, · ·,p r'-a-Ole 1
              #I have confirmed the deponents identity usmg lhe Following ldentmca11an documenl"

                                                                                    I 25io 4-to ·
                                                   Identification document relied on (may be orig inal or certified copy) t



    Signature of witness
    Note: The deponent and witness must sign each page of the affidavit. See UCPR 35.78 .




     [* The only "special justification" for not removing a face covering is a legitrmate mei;lica.l reason (at AprU201 2).}
    [t"lden ficaHon documen s" Include current d ver licence proof of age card , M~icare oard, cradft card,
    Centrelln~ pension card. Veterans Affairs enlillernen card. s1ucfent fden11ty card. cili2:e11sl'li11 certificate. blrlh
    certificate, passport or see Oaths Regulation 201 1.)
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    #PARTY DETAILS
    PARTIES TO THE PROCEEDINGS
    Plaintiff                                        Defendant
    Craig Steven Wright                            W&K INFO DEFENSE RESEARCH LLC

                                                   4371 Norhtlake Blvd #314

                                                   Palm Beach

                                                   FL 334 10 - 6253 fDefendantJ

    FURTHER DETAILS ABOUT PLAINTIFF{S]
    Plaintiff
    Name                                Craig Steven Wright
    Address                             43 St Johns Ave

                                        Gordon NSW 2072



    Contact details for plaintiff acting in person or by authorised officer
    Address for service                 as above

    Telephone                           0417683914
    Email                               craigswright@acm.org

    DETAILS ABOUT DEFENDANT

     Defendant
     Name                              W&K INFO DEFENSE RESEARCH LLC
                                       4371 Norhtlake Blvd #314
     Address
                                       Palm Beach
                                       FL 33410 - 6253
